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James S. Yu (JY-9734)
SEYFARTH SHAW LLP
620 Eighth Avenue
New York, New York 10018-1405
(212) 218-5500

J. Scott Humphrey (admitted pro hac vice)
Kristine R. Argentine (admitted pro hac vice)
Robyn E. Marsh (admitted pro hac vice)
SEYFARTH SHAW LLP
131 South Dearborn Street
Suite 2400
Chicago, Illinois 60603
(312) 460-5000

Attorneys for Plaintiff/Counter-Defendant Allstate Life Insurance Company

                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

ALLSTATE LIFE INSURANCE COMPANY,
                                                      Civil Action No.:
              Plaintiff,
                                                      3:15-cv-08251-AET-TJB
       v.
                                                      NOTICE OF MOTION TO
JEFFREY STILLWELL,                                    COMPEL THIRD PARTY
THERESA FRANCY, and STILLWELL                         AMERIPRISE FINANCIAL, INC.’S
FINANCIAL ADVISORS, LLC,                              RESPONSE TO SUBPOENA FOR
                                                      DOCUMENTS
              Defendants.

                                                      (Oral Argument Requested)
JEFFREY STILLWELL,
                                                      Motion Date: October 3, 2016
              Counter-Plaintiff,

       v.

ALLSTATE LIFE INSURANCE COMPANY,

              Counter-Defendant.
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TO:    Andrew Shapren, Esq.
       Elizabeth Long, Esq.
       Buchanan, Ingersoll & Rooney, PC
       50 S. 16th Street, Suite 19102-2555
       Philadelphia, PA 19102-2555

       Brian J. Christensen, Esq.
       Kyle B. Russell, Esq.
       Jackson Lewis PC
       7101 College Blvd., Suite 1150
       Overland Park, Kansas 66210

       PLEASE TAKE NOTICE, that on Monday, October 3, 2016, at 9:30 a.m. in the

forenoon, or as soon thereafter as counsel may be heard, the undersigned attorneys for

Plaintiff/Counter-Defendant Allstate Life Insurance Company (“Allstate”), will move before the

Honorable Tonianne J. Bongiovanni, United States Magistrate Judge, at the United States

District Court for the District of New Jersey, Clarkson S. Fisher Building & U.S. Courthouse,

402 East State Street, Trenton, New Jersey Courtroom 6E, in accordance with this Court’s Order,

dated August 26, 2016 [Dkt. 53] for an Order pursuant to Fed. R. Civ. P. 45 and L. Civ. R. 37.1,

compelling third party Ameriprise Financial, Inc. to produce documents responsive to a

subpoena issued by Allstate; and

       PLEASE TAKE FURTHER NOTICE, that in support of the within motion, Allstate shall

rely upon the accompanying Declaration of Robyn Marsh, and Memorandum of Law submitted

herewith in accordance with L. Civ. R. 7.1(b) of the Local Civil Rules of the United States

District Court for the District of New Jersey;

       PLEASE TAKE FURTHER NOTICE, that, pursuant to L. Civ. R. 37.1(b)(4), Allstate

respectfully requests oral argument; and

       PLEASE TAKE FURTHER NOTICE, that at that time and place aforesaid, Allstate will

request that the proposed form of Order submitted herewith be entered by the Court.



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Dated: September 9, 2016           Respectfully submitted,

                                   SEYFARTH SHAW LLP


                                   By: /s/ James S. Yu
                                       James S. Yu
                                       620 Eighth Avenue, 32nd Floor
                                       New York, NY 10018
                                       Tel.: (212) 218-5500

                                          J. Scott Humphrey (admitted pro hac vice)
                                          Kristine R. Argentine (admitted pro hac vice)
                                          Robyn E. Marsh (admitted pro hac vice)
                                          131 South Dearborn Street, Suite 2400
                                          Chicago, Illinois 60603
                                          Tel.: (312) 460-5000

                                   Attorneys for Plaintiff/Counter-Defendant Allstate
                                   Life Insurance Company




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                                  CERTIFICATE OF SERVICE

       The undersigned does hereby certify that on September 9, 2016, a true and correct copy

of the foregoing Notice of Motion, the accompanying Memorandum of Law, and Declaration of

James S. Yu was filed electronically using the CM/ECF system. Notice of this filing will be sent

by operation of the Court’s electronic filing system to all parties indicated on the electronic filing

receipt. In addition, a true and correct copy of the foregoing was served, via e-mail, on the

following:

       Andrew Shapren, Esq.
       Elizabeth Long, Esq.
       Buchanan, Ingersoll & Rooney, PC
       50 S. 16th Street, Suite 19102-2555
       Philadelphia, PA 19102-2555

       Brian J. Christensen, Esq.
       Kyle B. Russell, Esq.
       Jackson Lewis PC
       7101 College Blvd., Suite 1150
       Overland Park, Kansas 66210


this 9th day of September 2016.

                                               /s/ James S. Yu,




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